Case 2:18-cv-09028-GW-PLA Document 18 Filed 12/14/18 Page 1 of 1 Page ID #:1061


                    b%'.,
                   G         ~t~
                               :                 United States District Court
                                                    Central District of California           Cristina M.Squieri Bullock
                 G~~ ~        ~~I                    Office of the Clerk                    Chief Deputy of Administration
                                                                                            350 West 1st Street, Suite 4311
                   ~,                                                                          Los Angeles, CA 90012
                        '„`
                   Kiry K.Cray                                                                   Sara Tse Soo Hoo
      District Court Executive /Clerk of Court                                               Chief Deputy of Operations
          350 West 1st Street, Suite 4311                                               255 East Temple Street, Suite TS-134
               Los Angeles, CA 90012                                                          Los Angeles, CA 90012



                                                    November 20,2018                             coNFp
                                                                                                         R
                                                                                                S4~~UR~p~N~ME~~~opY
            1 11 North Hill Street                                                                           '~nAe~~B^~e
            Los Angeles. CA 90012
                                                                                     Sherri R. NOV2 ~ 2~~8
    Re: Case Number:       2:18—cv-09028—GW—PLA                                                 Pa~eR.ECeCutivb
        Previously Superior Court Case No.   BC706555                                      ey                     ~f/icer/C/~rk
        Case Name:       Jason Frank Law.PLC v. Michael J. Avenatti                                     rL2 DBDUty

    Dear Sir/Madam:

          Pursuant to this Court's ORDER OF REMAND issued on                  11/19/2018         ,the above—referenced
    case is hereby remanded to your jurisdiction.

            Attached is a certified copy of the ORDER OF REMAND and a copy of the docket sheet
                                                                                                    from this Court.
          Please acknowledge receipt of the above by signing the enclosed copy of this letter
    location shown below. Thank you for your cooperation.                                     and returning it to the
                                                                                                                  ,-sa
    United States Courthouse
    255 East Temple Street, Suite TS-134
    Los Angeles, CA 90012                                                                    a

                                                                                                                  ~~              ~~"
                                                                    Respectfully,                 ~   ,~          ~,.
                                                                                                       -,.        ~
                                                                    Clerk, U.S. District Cour~        - -         t
                                                                                                                  N
                                                                    By: lsl Margo Mead   ~
                                                                       Deputy Clerk
                                                                       margo_mead@cacd.uscourts.gov
   Encls.
   cc: Counsel ofrecord

   Receipt is acknowledged of the documents described above.



                                                                    Clerk, Superior Court

       t►     27         2c' i~                                                 PAUL CRUZ
                                                                   By:
   Date                                                                  Deputy Clerk




   CV-103 (05/18)           LETTER OF TRANSMITTAL -REMAND TO SUPERIOR COURT (CIVIL)
